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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION


             UNITED STATES OF AMERICA,              :
                                                    :
                   v.                               :
                                                    :
             CARMEN MORALES,                        :    CRIMINAL ACTION NO.
                                                    :    2:14-CR-00037-04-RWS
                         Defendants.                :
                                                    :
                                                    :

                                                ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [82] of Magistrate Judge J. Clay Fuller. After reviewing the

             Report and Recommendation, it is received with approval and adopted as the

             Opinion and Order of this Court. Accordingly, Defendant’s Motion to Sever

             [63] is DENIED, AS MOOT.

                   SO ORDERED this 12th day of January, 2015.




                                                   ________________________________
                                                   RICHARD W. STORY
                                                   United States District Judge




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